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                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF MISSISSIPPI
                                     NORTHERN DIVISION

    UNITED STATES OF AMERICA                                                                                PLAINTIFF

    V.                                                                   CAUSE NO. 3:12-cr-118-CWR-FKB-9

    MARLON FABER                                                                                         DEFENDANT


                                                      ORDER

           Before this Court, Marlon Faber pleaded guilty to conspiracy to possess with intent to

distribute more than 50 grams of methamphetamine. He was sentenced to 87 months

imprisonment with five years of supervised release.

           On April 17, 2017, Faber filed the instant Motion for Modification of Sentence pursuant

to 18 U.S.C. § 3621. For the final months of his sentence, he asks the Court to place him in a

Residential Re-entry Center (“RRC”) for 12 months, followed by home confinement for six

months.

           This Court, however, “only has authority to review whether the [Bureau of Prisons]

properly reviewed Petitioner’s case.” Hicks v. Pearson, No. 5:09-CV-87-DCB-MTP, 2010 WL

3274878, at *2 (S.D. Miss. Aug. 16, 2010). “It is within the sole discretion of the BOP whether

to place a prisoner in an RRC, and if so, for how long.” Id.

           Because Faber has not demonstrated that BOP has reviewed his request, this Court may

not grant him relief. 1 His motion is denied.

           SO ORDERED, this the 14th day of March, 2018.


                                                                s/ Carlton W. Reeves
                                                                UNITED STATES DISTRICT JUDGE

1
 Faber complains that BOP will not consider his request “until he . . . [has] 17 - 19 months left in his sentence.”
Docket No. 434 at 6. But that is a matter for the BOP.
